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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )        CRIMINAL NO. 06-00080 (03) SOM
                              )
               Plaintiff,     )
                              )        ORDER DENYING DEFENDANT KEVIN A.
          vs.                 )        GONSALVES’S MOTION TO SUPPRESS
                              )        PHYSICAL EVIDENCE
KEVIN A. GONSALVES,   (03)    )
                              )
                              )
               Defendant.     )
_____________________________ )

             ORDER DENYING DEFENDANT KEVIN A. GONSALVES’S
                 MOTION TO SUPPRESS PHYSICAL EVIDENCE.

I.           INTRODUCTION.

             Defendant Kevin A. Gonsalves moves to suppress evidence

obtained from the seizure, and resulting search, of a 1991 Ford

Escort.     Gonsalves contends that (1) there was no probable cause

to seize the Ford Escort; (2) a search occurred prior to the

issuance of a search warrant; (3) the search warrant was not

supported by probable cause and relied on material misstatements;

and (4) the police unreasonably delayed obtaining a search

warrant.     The Government claims that (1) the automobile exception

applied and eliminated the need for a search warrant; (2) the

seizure and subsequent search of the Ford Escort were supported

by probable cause; (3) the alleged misstatements in the affidavit

attached to the search warrant were immaterial; and (4) there is

no requirement that a vehicle be searched contemporaneously with

its lawful seizure.
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          The court concludes that probable cause supported the

initial seizure of the Ford Escort, that the car was not

thereafter searched without a warrant, and that the warrant

subsequently obtained was supported by probable cause.

Alternatively, the court concludes that, even if the search

warrant was not supported by probable cause or was defective, the

good-faith exception applies to justify reliance on the search

warrant in searching the car after it had been towed to the

police lot.    Gonsalves’s motion to suppress is therefore denied.

II.          FINDINGS OF FACT.

             1.   This court has before it three exhibits submitted

by Gonsalves: (1) the search warrant issued by the state court on

January 15, 2004 (“Ex. A”); (2) the affidavit of Honolulu Police

Department (“HPD”) Detective Kathleen Osmond in support of the

warrant application (“Ex. B”) made on January 15, 2004; and

(3) the Return of the Search Warrant, dated April 13, 2004,

(“Ex. C”).    In addition, the court considers two exhibits

submitted by the Government: (1) a transcript of a 911 call made

by Richard Pang, the husband of Gonsalves’s stepmother, on

January 7, 2004 (“Ex. 1”); and (2) a synopsis of a 911 call made

by John Ornelles of Hawaiian Memorial Park (“HMP”), a cemetery

and mortuary on January 8, 2004 (“Ex. 2”).

             2.   This court held an evidentiary hearing, during

which it received oral testimony from Ornelles, Pang, HPD


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Detective William Lee, HPD Detective Kenneth Higa, HPD Detective

Osmond, and Gonsalves.      This court found Osmond credible on the

matters to which she testified.      Cross-examination of Ornelles

and Pang revealed that both Ornelles and Pang were confused about

some of the matters to which they testified, but they appeared to

the court to be attempting to be truthful.        Based on the written

and oral evidence, the court finds the following by a

preponderance of the evidence:

              3.   On the evening of January 6, 2004, Gonsalves met

with his sister, Catherine Gutierrez, and asked for permission to

borrow her car the following day.       Gonsalves testimony.1

              4.   The next morning, on January 7, 2004, Gonsalves’s

nephew drove the car to where Gonsalves was and handed Gonsalves

a single key.      Gonsalves then drove Gutierrez’s car to HMP to

attend a memorial service.      Gonsalves parked the car on a road on

the cemetery grounds, got out, and locked the car.             He says that

at some point during that day he lost the key.         He says he

therefore asked his sister if she had another key she could use

to pick up the car.      Id.



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           In an effort to rule promptly on the merits and to
avoid the burden on the court’s overextended court reporters, the
court did not request, and therefore does not have, final
transcripts of the live testimony. References to the testimony
are based on the court’s recollection and notes, and on the court
reporter’s “rough” version of the transcripts. Accordingly, this
court is unable to give exact page and line citations to the
testimony.

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            5.   On the afternoon of January 7, 2004, three men

were shot at the Pali Golf Course, which is near the cemetery.

Two of the men died.    Motion at 2; Opp. at 3.        Detective Osmond

was assigned to investigate the shootings.         Ex. B at 6.

            6.   In the evening, HPD received a phone call from

Pang, who said he was calling about the “golf course shooting.”

Ex. 1 at 1.   Pang was distraught, having just received a

telephone call from Gutierrez informing him that Gonsalves had

been one of the shooters and warning Pang that revenge might be

sought against Gonsalves’s relatives.         Id. at 3-4.       Pang told the

HPD dispatcher that both Gutierrez and Gonsalves were armed.                Id.

at 4.   Later that evening, Detective Osmond listened to the

recording of Pang’s 911 telephone call.         Osmond Testimony.

            7.   That evening, Lepo Utu Taliese, one of the men

shot, identified the shooters as Rodney Joseph and Malu Motta.

Ex. B at 6-7.    Lepo Utu Taliese died later that evening.            Id.

            8.   On the morning of January 8, 2004, Ornelles called

the police station to request that a gray Ford Escort left

overnight be towed, as it was blocking the driveway used for

deliveries.   Ex. 2; Ornelles Testimony.        Ornelles told the police

that the car might be related to the shootings, and that two of

the men involved in the shootings had attended a funeral at HMP

the previous day.    Ex. 2; Osmond Testimony.       There had been only




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one memorial service at the cemetery the previous day.            Ornelles

Testimony.

             9.    Officer Lee, now Detective Lee, responded to

Ornelles’s call.      Officer Lee arrived at the cemetery a little

before 11 a.m. and called Ornelles on his cell phone.           Lee

Testimony; Ornelles Testimony.      Officer Lee did not meet Ornelles

in person, but heard in the cell phone conversation that the

people connected to the car might have been involved with the

shootings.    Id.    Officer Lee relayed this information to

Detective Osmond.      Officer Lee described the car as a gray 1991

Ford Escort with “PHENOM” stickers covering the windows (“Ford

Escort”).    Lee Testimony; Osmond Testimony.      Officer Lee told

Detective Osmond that PHENOM was an organization that promoted

kickboxing.    Ex. B at 10; Osmond Testimony.      Detective Osmond,

who knew that Joseph was a kickboxer, told Officer Lee to remain

with the car and to let her know if anyone tried to claim the

car.   See Osmond Testimony; Lee Testimony.

             10.    Detective Osmond then checked the police computer

system for registration information for the Ford Escort and

learned that there was a “transfer pending,” which meant that the

car had been sold but the new owner’s paperwork for registering

the car had not yet been processed.      See Osmond Testimony.

Detective Osmond learned that the previous owner was John Wilson




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of Waianae, and she asked Detective Higa to find Wilson.              Id.;

Higa Testimony; Ex. B at 10.

            11.    Detective Higa telephoned Wilson, who said that

he had recently sold the Ford Escort to a woman named “Cat.”               See

Higa Testimony.     Detective Higa gave this information to

Detective Osmond.     Id.; Osmond Testimony.

            12.    Detective Osmond told Officer Lee to have the

Ford Escort towed to a police lot.       A tow truck arrived at the

cemetery a little after one in the afternoon.           Lee Testimony;

Osmond Testimony.     Officer Lee followed the tow truck with the

Ford Escort to the police lot.       Lee Testimony.      As of the time

the Ford Escort was towed, HPD had not searched the car, and

nobody had claimed the car.       Id.; Osmond Testimony.         Thereafter,

the car was not searched until a search warrant was obtained.

            13.    Later that evening, Detective Osmond interviewed

Nixon Maumalanga, who had driven the three victims and Gonsalves

to the Pali Golf Course.       Ex. B at 8.     Maumalanga and the three

victims were under the impression that Gonsalves had arranged a

business meeting with Motta and Joseph.         At the golf course, one

of the victims got out of the car he was in and was shot by the

passenger from the other car.       Id. at 8-9.

            14.    That evening, Detective Osmond learned from

Joseph that he and Motta had attended a funeral on January 7,

2004, at HMP.     Id. at 8.    Joseph said that Gonsalves, one of


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Joseph’s friends, had also attended the funeral, although Joseph

did not know how Gonsalves had gotten there.          Id. at 9.

             15.   Meanwhile, Detective Higa was searching for Cat,

the new owner of the Ford Escort.       Higa Testimony; Ex. B at 11.

Wilson had informed Detective Higa that, although he did not know

where Cat lived, he had seen her around his neighborhood.             Higa

Testimony.    Detective Higa went to a house on Waianae Valley Road

and spoke with Leimomi Auwae, Gutierrez’s mother-in-law.             Ex. B

at 11.   Auwae told Detective Higa that Gutierrez had recently

purchased an older model used car.       Id.

             16.   On January 15, 2004, Detective Osmond submitted

an application for a search warrant to Judge Christopher P.

McKenzie, a state judge of the District Court of the First

Circuit of Hawaii.     Ex. A.   Judge McKenzie, finding probable

cause, authorized the search of the Ford Escort with John M.

Wilson as the last known registered owner.         Id. at 2.      The search

warrant was executed that same day, and various items were

recovered.    See Ex. C at 3-4.

             17.   From the time Ornelles first made his call on

January 8, 2004, to the execution of the search warrant, no

individual contacted HPD to claim the Ford Escort.




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III.        CONCLUSIONS OF LAW.

            A.    Gonsalves has Standing to Challenge the Seizure
                  and Search of the Ford Escort.

            1.   The Government challenges whether Gonsalves has

standing to challenge the seizure and subsequent search of his

sister’s Ford Escort.    Specifically, the Government contends that

Gonsalves abandoned any interest in the Ford Escort when he left

the car at HMP overnight, and when he failed to claim the car in

the week following the memorial service.

            2.   Standing is determined by examining whether the

individual has a “legitimate expectation of privacy in the

invaded space.”    Rakas v. Illinois, 439 U.S. 128, 143 (1978).                An

ownership interest is not necessary to establish a legitimate

expectation of privacy.    United States v. Thomas, 447 F.3d 1191,

1198 (9th Cir. 2006).    The Ninth Circuit says that a defendant

has standing to challenge the search of another’s car when that

defendant has permission from the owner to use the car, is in

possession of the car, and holds a key to the car.             United States

v. Portillo, 633 F.2d 1313, 1317 (9th Cir. 1980); see also

Thomas, 447 F.3d at 1199 (holding that a driver of a rental car

driving with permission from the authorized driver, but without

authorization from the rental company, has standing to challenge

the search of the rental car).

            3.   When a person has abandoned property, he has no

standing to challenge the search or seizure of the abandoned

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property.    United States v. Jackson, 544 F.2d 407, 409 (9th Cir.

1976).    “Abandonment is a question of intent.         The inquiry should

focus on whether, through words, acts or other objective

indications, a person has relinquished a reasonable expectation

of privacy in the property at the time of the search or seizure.”

United States v. Nordling, 804 F.2d 1466, 1469 (9th Cir. 1986).

This court looks at the totality of circumstances when

determining abandonment.       Of particular significance is whether

there has been “denial of ownership and physical relinquishment

of the property.”     Id.   The Government has the burden of

establishing abandonment.      See United States v. Fernandez, 772

F.2d 495, 499 (9th Cir. 1985).

             4.   Gonsalves, although not the registered owner of

the Ford Escort, had permission from Gutierrez to use the Ford

Escort.    Gonsalves had a key for the car, and even though he had

subsequently lost the key, was in possession of the car when he

arrived at HMP, and locked the door when he got out.             These

actions demonstrated Gonsalves’s ability to “exclude all others,

save his [sister], the owner.”      Portillo, 633 F.2d at 1317.

Gonsalves, therefore, had a legitimate expectation of privacy in

the Ford Escort.

             5.   The Government has failed to establish that

Gonsalves abandoned the car.      After parking the car near HMP,

Gonsalves got out and locked the car.          A little more than 24


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hours later, HPD seized the car.        Gonsalves’s failure to claim

the car within this period is insufficient to establish

abandonment.      In Nordling, the defendant was deemed to have

abandoned a bag only after denying numerous times that he owned

it and then leaving it behind on an airplane.         Nordling, 804 F.2d

at 1470.   Gonsalves had no such denial of ownership, and the

Government has not established that Gonsalves relinquished his

car in failing to claim it in the 24 hours before it was seized.

As the Government has failed to establish abandonment, Gonsalves

has standing to challenge seizure and search of the Ford Escort.

             B.    The Pre-Warrant Seizure of Car Was Supported by
                   Probable Cause.

             1.    The Fourth Amendment protects the “right of the

people to be secure in their persons, houses, papers, and

effects, against unreasonable searches and seizures.”            See United

States v. Place, 462 U.S. 696, 701 (1983).         The Fourth Amendment

generally requires police to secure a warrant before conducting a

search, California v. Carney, 471 U.S. 386, 390-91 (1985), as

searches conducted outside the judicial process, without prior

approval by a judge, are per se unreasonable under the Fourth

Amendment.    United States v. Ross, 456 U.S. 798, 825 (1982); Katz

v. United States, 389 U.S. 347, 357 (1967).

             2.    There are a few specifically established and

well-delineated exceptions to this warrant requirement.            See

United States v. Ross, 456 U.S. 798, 825 (1982); Katz v. United

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States, 389 U.S. 347, 357 (1967).       A warrantless search of an

automobile is one such exception.       If there is probable cause for

believing that an automobile contains contraband, officers are

entitled to search it.    Carroll v. United States, 267 U.S. 132,

153-54 (1925); see also Maryland v. Dyson, 527 U.S. 465, 467

(1999) (a finding of probable cause that a car contains

contraband is sufficient to support a warrantless search, and

there is no separate exigency requirement); United States v.

Pinela-Hernandez, 262 F.3d 974, 978 (9th Cir. 2001) (“police may

conduct a warrantless search of a vehicle if they have probable

cause to believe that it contains contraband”).         A search is

similarly permitted if there is probable cause to believe there

is evidence of a crime in the automobile.       Ornelas v. United

States, 517 U.S. 690, 696 (1996).

           3.   The automobile exception is grounded in two basic

principles: (1) the mobility of vehicles and (2) a reduced

expectation of privacy given the pervasive regulations applicable

to vehicles.    See Carney, 471 U.S. at 393; Pinela-Hernandez, 262

F.3d at 978 (“The reasons for this exception are twofold: the

expectation of privacy in one’s vehicle is less than in one’s

home, and the mobility of vehicles necessitates faster action on

the part of law enforcement officials.”).

           4.   Because the Ford Escort was seized when it was

towed, see United States v. Bagley, 772 F.2d 482, 490 (9th Cir.


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1985), whether probable cause supported its subsequent search

must be determined at the time of the seizure, rather than at the

time of the search.   See United States v. Trejo-Zambrano, 582

F.2d 460, 463 (9th Cir. 1978) (determination of whether probable

cause exists for a warrantless search is made at the time of the

seizure, not at the time of the search); see also Chambers, 399

U.S. at 51-52 (“For constitutional purposes, we see no difference

between on the one hand seizing and holding a car before

presenting the probable cause issue to a magistrate and on the

other hand carrying out an immediate search without a warrant.

Given probable cause to search, either course is reasonable under

the Fourth Amendment.”) (emphasis added); United States v.

Bagley, 772 F.2d at 490 (like searches, seizures of vehicles

under the automobile exception require probable cause to believe

that the vehicles contain contraband or evidence of a crime).

           5.   Probable cause exists “where the known facts and

circumstances are sufficient to warrant a man of reasonable

prudence in the belief that contraband or evidence of a crime

will be found.”   Ornelas, 517 U.S. at 696.       In determining the

existence of probable cause, this court examines the totality of

the circumstances.    Illinois v. Gates, 462 U.S. 213, 238 (1983).

           6.   In Bagley, the Ninth Circuit upheld a warrantless

seizure of a car based on probable cause.       The police had towed a

car to a police lot without a warrant and, three days later,


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obtained a search warrant and searched the car.         Bagley, 772 F.2d

at 486.   The court found that probable cause supported the

warrantless seizure and subsequent search of the car under the

automobile exception.    See id. at 491 (“We now hold that the

existence of probable cause alone justifies a warrantless search

or seizure of a vehicle lawfully parked in a public place.”).

The Bagley court affirmed the district court’s determination that

probable cause had supported the seizure and subsequent search of

the car based on an eyewitness identification of the car as the

getaway car, and based on sunglasses and gloves similar to those

worn by the robber being visible in the car.        Id.

            7.   Probable cause supported HPD’s seizure of the Ford

Escort.   Police were told that people involved with shootings the

previous day had attended a funeral at HMP before the shootings.

There had only been one memorial service at HMP on January 7,

2007.   HPD knew the names of individuals allegedly involved, and

they had also received a call from Pang, identifying Gonsalves as

one of the shooters.    From the phone call, HPD learned that

Gonsalves and his sister had gone into hiding.         HPD had also

received a call from Ornelles, who requested that the Ford Escort

be towed because it was blocking truck deliveries.            On the car’s

windows were stickers affiliated with kickboxing, and Detective

Osmond knew that one of the alleged shooters was involved with

kickboxing.   The police had also made efforts to contact the


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owner of the car to discern whether the car had merely broken

down.   At the time of the seizure, nobody had called either HMP

or HPD to claim the car.      Someone might have removed the car from

HMP property before a warrant could have been obtained.            Given

the totality of the circumstances, probable cause supported the

warrantless seizure of the Ford Escort.

            C.   The Post-Warrant Search of Car Was Supported by
                 Probable Cause.

            1.   Gonsalves contends that the Government

unreasonably delayed in seeking a warrant to search the Ford

Escort by waiting one week after its seizure before obtaining a

warrant.    This court is not persuaded by this argument because,

under the automobile exception to the warrant requirement, when

there is probable cause to seize a car, the police need not

obtain a search warrant to search it.

            2.   Once there is probable cause to seize a car, a

subsequent warrantless search of it is valid.         United States v.

Henderson, 241 F.3d 638, 649 (9th Cir. 2000); see also United

States v. Johnson, 820 F.2d 1065, 1072 (9th Cir. 1987) (holding

that once police have lawfully seized an item, a subsequent

search of that item can be conducted without a warrant).

            3.   “There is no requirement that the warrantless

search of a vehicle occur contemporaneously with its lawful

seizure.”   United States v. Johns, 469 U.S. 478, 484 (1985).             The

Supreme Court has upheld searches that have occurred numerous

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days after the initial seizure when there is “probable cause to

believe that the [vehicle] contained contraband.”             Id. at 387.

In Johns, the Supreme Court reversed a Ninth Circuit decision

holding that a delay in searching packages located in a vehicle

made the search of those packages unreasonable.         Id.      Because law

enforcement officials could have lawfully searched the packages

at the time they were seized from the vehicle, the Supreme Court

concluded that a three-day delay was not unreasonable and did not

violate the Fourth Amendment.     In Cooper v. California, 386 U.S.

58, 58, 61 (1967), the Supreme Court similarly held that a

warrantless search of a vehicle one week after its initial

seizure was not unreasonable.

           4.   Given this court’s determination that the initial

seizure of the Ford Escort was supported by probable cause, and

given the Supreme Court’s guidance in Johns and Cooper, the court

concludes that waiting one week before obtaining the search

warrant does not render HPD’s search of the Ford Escort invalid.

           D.   Probable Cause Supported the Search Warrant.

           1.   Gonsalves also challenges the post-warrant search

of the vehicle, arguing that the search warrant was not supported

by probable cause because the information in its application “did

not establish probable cause that the car or its’[sic] occupants

were involved in the shooting, or that even if the occupants were

involved in the shooting, it was reasonable to expect evidence


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relating to the shooting would be found in the car.”             Motion at

13.

            2.   A judge’s issuance of a search warrant is reviewed

to determine whether “the magistrate had a substantial basis for

concluding that probable cause existed.         In doubtful cases,

preference should be given to the validity of the warrant.”

United States v. Schmidt, 947 F.2d 362, 371 (9th Cir. 1991)

(internal quotation marks and citations omitted); accord United

States v. Chavez-Miranda, 306 F.3d 973, 979 (9th Cir. 2002) (“We

need only find that the issuing magistrate had a substantial

basis for finding probable cause.”).         Probable cause is

determined by looking at the totality of the circumstances, and

will be found when there is “a fair probability that contraband

or evidence of the crime will be found.”         United States v. Gil,

58 F.3d 1414, 1419 (9th Cir. 1995).

            3.   Under this deferential standard, the court

concludes that the state judge had a “substantial basis” for

determining that evidence relating to the shootings would be

found in the Ford Escort.     The application for the search warrant

indicated that Gonsalves had been involved in the shooting, that

Gonsalves had arrived at HMP by means of his own transportation

but had left with Joseph, and that Gonsalves was currently in

hiding.   See Ex. B at 11-12.    The car had been left overnight at

HMP, and nobody had called to claim its possession. HPD had


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reason to believe that Gonsalves’s sister was the new owner of

the Ford Escort.   Id. at 12.      Accordingly, this court concludes

that there was a substantial basis for the state court judge to

determine that probable cause supported the issuance of the

search warrant for the Ford Escort.

            E.   Gonsalves’s Challenge to the Truthfulness of the
                 Affidavit Supporting the Search Warrant
                 Application is Not Persuasive.

            1.   A criminal defendant has a right under the Fourth

and Fourteenth Amendments, after ex parte issuance of a warrant,

to challenge the truthfulness of statements made in affidavits

supporting the warrant.       Franks v. Delaware, 438 U.S. 154, 171

(1978); United States v. Johns, 851 F.2d 1131, 1133 (9th Cir.

1988).   The defendant is entitled to make that challenge at an

evidentiary hearing, or a Franks hearing, only if that defendant

makes a suitable preliminary proffer of material falsity as to

statements made in those affidavits:

           [T]he challenger’s attack must be more than
           conclusory and must be supported by more than
           a mere desire to cross-examine. There must
           be allegations of deliberate falsehood or of
           reckless disregard for the truth, and those
           allegations must be accompanied by an offer
           of proof. They should point out specifically
           the portion of the warrant affidavit that is
           claimed to be false; and they should be
           accompanied by a statement of supporting
           reasons. Affidavits or sworn or otherwise
           reliable statements of witnesses should be
           furnished, or their absence satisfactorily
           explained. Allegations of negligence or
           innocent mistake are insufficient. The
           deliberate falsity or reckless disregard

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           whose impeachment is permitted today is only
           that of the affiant, not of any
           nongovernmental informant. Finally, if these
           requirements are met, and if, when material
           that is the subject of the alleged falsity or
           reckless disregard is set to one side, there
           remains sufficient content in the warrant
           affidavit to support a finding of probable
           cause, no hearing is required.

Franks v. Delaware, 438 U.S. 154, 171 (1978).

            2.   An affidavit submitted in support of an

application for a warrant is presumed valid.         Franks, 438 U.S. at

171.   It is subject to a Franks hearing only if the challenger

meets a five-part test: (1) the defendant must make specific

allegations that indicate the portions of the warrant claimed to

be false; (2) there must be a contention of deliberate falsehood

or reckless disregard for the truth; (3) the allegations must be

accompanied by a detailed offer of proof, preferably in the form

of affidavits; (4) the offer of proof must challenge the veracity

of the affiant, not that of his informant; and (5) the challenged

statements in the affidavit must be necessary to a finding of

probable cause.    United States v. Kiser, 716 F.2d 1268, 1271 (9th

Cir. 1983).   Clear proof of deliberate or reckless omission is

not required, but the defendant must make at least a “substantial

showing” that the affiant intentionally or recklessly omitted

facts required to prevent technically true statements in an

affidavit from being misleading.        United States v. Stanert, 762

F.2d 775, 781 (9th Cir. 1985); accord Chavez-Miranda, 306 F.3d at


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979 (“The movant bears the burden of proof and must make a

substantial showing to support both elements.”).                 Moreover, a

defendant cannot make a “substantial showing” by arguing that the

affidavit did not contain every fact known to the affiant.

United States v. Ventresca, 380 U.S. 102, 108 (1965).                Instead,

affidavits must be examined in a commonsense and realistic

fashion.   Id.

            3.   Gonsalves contends that Detective Osmond’s

Affidavit “contains material misstatements of fact, which if

omitted from the Attachment, cause the remainder of the

Attachment to be insufficient to establish probable cause.”

Motion at 16.    Specifically, Gonsalves claims that there were two

material misstatements:       (1) the statement that the Ford Escort

was “next to” the funeral chapel when, in fact, it was located

“about 100 feet Northeast of the main chapel area” and (2) the

statement that Wilson told Detective Higa where Cat lived and

described her house to Detective Higa when, in fact, Wilson did

not know where Cat lived.      Id. at 17.      Neither claim requires

this court to hold a Franks hearing.

            4.   Even if the court assumes that Detective Osmond’s

affidavits contained falsehoods, Gonsalves fails to show that any

such falsehood is material.       “In determining materiality, the

pivotal question is whether an affidavit containing the omitted

material would have provided a basis for a finding of probable


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cause.”   Chavez-Miranda, 306 F.3d at 979 (internal quotation

marks and citations omitted).      The alleged misstatements in

Detective Osmond’s affidavit were minor discrepancies that would

not have affected the state-court judge’s determination of

probable cause.    Even if the Ford Escort had not been parked

“next to the chapel,” there would still have been a fair

probability that the driver who had parked the vehicle near HMP

had attended a service there.     Also, the location of Gutierrez’s

residence had already been established by Pang’s telephone call,

and it was not necessary to rely on a statement by Wilson.

            F.    The Good-Faith Exception Also Supports the Search
                  of the 1991 Gray Ford Escort.

            1.   Even if the warrant authorizing the search of the

1991 gray Ford Escort was not supported by probable cause or the

warrant contained material misstatements, the search of the 1991

gray Ford Escort was sustainable under the good-faith exception

set forth in United States v. Leon, 468 U.S. 897 (1984).

“[P]hysical evidence seized by officers reasonably relying on a

warrant issued by a detached and neutral magistrate leads to the

conclusion that such evidence should be admissible in the

prosecution’s case in chief.”     Id. at 912; see also United States

v. Hendricks, 743 F.2d 653, 656 (9th Cir. 1984) (holding that

“evidence should not be suppressed if the officers’ reliance on

the warrant was reasonable”).



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             2.    HPD searched the Ford Escort, only after obtaining

a search warrant issued by a state court judge.             No evidence was

submitted to this court that suggests that HPD had any reason to

doubt the validity of the warrant for the vehicle.               “In the

ordinary case, an officer cannot be expected to question the

magistrate’s probable-cause determination or his judgment that

the form of the warrant is technically sufficient.”               Leon, 468

U.S. at 920.      Even if the search warrant was deficient in some

respect, HPD relied on the warrant in good faith, and its search

of the Ford Escort pursuant to a search warrant falls under

Leon’s good-faith exception.

IV.         CONCLUSION.

            For the foregoing reasons, Gonsalves’s motion to

suppress is denied.



            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, January 15, 2008.




                               /s/ Susan Oki Mollway
                              Susan Oki Mollway
                              United States District Judge




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